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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

                                          PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &                          CIVIL ACTION NO. 6:22-CV-885-RRS-CBW
   PREVENTION; et al.,

                                        DEFENDANTS.


                           DECLARATION OF ATTORNEY JOSEPH SCOTT ST. JOHN

           I, Joseph Scott St. John, declare and state as follows:

           1.      I am a Deputy Solicitor General employed by the Louisiana Department of Justice. I

  represent the State of Louisiana in connection with the above-captioned matter. I have personal

  knowledge of the facts stated herein.

           2.      Attached hereto as Exhibit A is a true and correct copy of an article from Numbers

  USA at https://www.numbersusa.com/news/dhs-sec-mayorkas-confirms-42-aliens-terror-watchlist-

  us-illegally.   Video   of   the   admissions     discussed    in   the   article   can   be   found   at

  https://mobile.twitter.com/TPostMillennial/status/1521135498407948290.

           3.      Attached hereto as Exhibit B is a true and correct copy of a DHS April 26, 2022

  publication, DHS Plan for Southwest Border Security and Preparedness (Apr. 26, 2022), as obtained from

  https://www.dhs.gov/sites/default/files/2022-04/22_0426_dhs-plan-southwest-border-security-

  preparedness.pdf
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         4.      Attached hereto as Exhibit C is a true and correct copy of a DHS Inspector General

  April 12, 2022 Report titled, “ICE Spent Funds on Unused Beds, Missed COVID 19 Protocols, and

  Detention Standards While Housing Migrant Families in Hotels” as obtained from

  https://www.oig.dhs.gov/sites/default/files/assets/2022-04/OIG-22-37-Apr22.pdf

         5.      Further declarant sayeth naught.


  I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE OF
  LOUISIANA AND UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT
  THE FOREGOING IS TRUE AND CORRECT.

  Executed in New Orleans, Louisiana, this 9th day of May, 2022.

                                               /s/ Joseph Scott St. John
                                               ______________________
                                               Joseph Scott St. John
                                               Deputy Solicitor General
                                               LOUISIANA DEPARTMENT OF JUSTICE
                                               909 Poydras Street, Suite 1850
                                               New Orleans, LA 70112
                                               stjohnj@ag.louisiana.gov
